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                           UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEW HAMPSHIRE

SCOTTSDALE CAPITAL ADVISORS CORP,                     )
AND JOHN HURRY,                                       )
                                                      )
                            Plaintiffs,               )
                                                      )     CASE NO. 1:16-CV-00545
                 v.                                   )
                                                      )     Hon. Joseph Normand Laplante
THE DEAL, LLC AND WILLIAM MEAGHER,                    )
                                                      )
                            Defendants.               )
                                                      )


             ASSENTED-TO MOTION TO CONTINUE ORAL ARGUMENT SET
                            FOR APRIL 28, 2017 TO
                            MAY 15, 16 OR 17, 2017

        NOW COMES the Defendants, The Deal, LLC and William Meagher, by and through

their attorneys, and respectfully submit the within Assented-To Motion to Continue Oral

Argument Set for April 28, 2017 to May 15, 16 or 17, 2017 and in support thereof represents as

follows:

        1.       Defendants filed their Motion to Dismiss on February 2, 2017 [Doc No. 16].

        2.       Plaintiffs filed their Objection to the Motion to Dismiss on February 16, 2017

[Doc No. 17].

        3.       Defendants filed a Reply in Support of their Motion to Dismiss on March 2, 2017

[Doc. No. 20].

        4.       The Court has scheduled Oral Argument for April 28, 2017.

        5.       Undersigned counsel is local counsel for Elizabeth McNamara, Esquire of Davis,

Wright, Tremaine, LLP. Attorney McNamara has a pre-existing scheduled Court hearing on

April 28, 2017 and, therefore, is unable to attend the scheduled oral argument relative to this

case.
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       6.      Counsel for Plaintiffs and Defendants have conferred and agree to continue oral

argument from April 28, 2017 to one of the following dates: May 15, 16 or 17, 2017.

       7.      Counsel for Plaintiffs, Jordan Susman, Esquire, assents to the within Motion.

       8.      Due to the nature of the within Motion, no memorandum of law is submitted

herewith.

       WHEREFORE, the Defendants pray for the following relief:

       A.      Grant the within Motion;

       B.      Continue Oral Argument from April 28, 2017 to either May 15, 16 or 17, 2017;

and

       C.      Grant such other relief as may be just and proper.

                                                 Respectfully submitted,
                                                 The Deal, LLC and William Meagher
                                                 By Their Attorneys:
                                                 SHAHEEN & GORDON, P.A.

Dated: March 9, 2017                             /s/ Steven M. Gordon
                                                 Steven M. Gordon
                                                 NH Bar No. 964
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                               CERTIFICATE OF SERVICE

        I hereby certify that the foregoing Assented-To Motion to Continue Oral Argument Set
for April 28, 2017 to May 15, 16 or 17, 2017 was served on the following persons on this date
and in the manner specified herein:

       Electronically Served Through ECF:
              George R. Moore, Esq.- gmoore@devinemillimet.com
              Christopher D. Hawkins, Esq. - chawkins@devinemillimet.com
              Charles J. Harder, Esq. (pro hac vice) - charder@hmafirm.com
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Dated: March 9, 2017                               /s/ Steven M. Gordon
                                                   Steven M. Gordon, NH Bar #964




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